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                                   STATEMENT OF FACTS

        Your affiant, STEWART CURCIO, is a special agent with the Federal Bureau of
Investigation currently assigned to the Washington Field Office (WFO) in Washington D.C. and
on the Violent Crimes Task Force. In my duties as a special agent, I have investigated a variety
of violent crimes, including kidnappings, carjacking, fugitive cases, and other crimes of violence
involving deadly weapons. Currently, I am a tasked with investigating criminal activity in and
around the Capitol grounds on January 6, 2021. As a Special Agent for the FBI, I am authorized
by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol. As
noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Pence, were instructed to and did evacuate the chambers. Accordingly, the joint session of the
United States Congress was effectively suspended until shortly after 8:00 p.m. Vice President
Pence remained in the United States Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                      BACKGROUND
                               Ryan Stephen Samsel (DOB           /1983)

       Your affiant has obtained multiple videos of what occurred on January 6 that depict an
individual identified as RYAN STEPHEN SAMSEL (DOB                       /1983) assaulting a U.S.
Capitol Police Officer and engaging in disruptive or disorderly conduct. Video footage shows that
at approximately 12:45 p.m. on January 6, 2021, as preparations for the proceedings described
above were underway in the House and the Senate, a large crowd gathered to the West of the U.S.
Capitol around the Peace Monument, located in the Pennsylvania Avenue, NW, and 1st Street,
NW, roundabout,




                          Figure 1. Aerial Imagery of U.S. Capitol Grounds.


     The crowd then moved southeast to the threshold of the sidewalk that connects Peace Circle

Capitol Police Officers. Metal barricades had been put in place by U.S. Capitol Police Officers.
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The metal barricades were intended to keep the public away from the Capitol building and the
Congressional proceedings underway inside.

        At approximately 12:50 p.m., SAMSEL was observed walking past the fence line with one
other individual. (see Figure 2 below). The two approached a second line of barricades that were
manned by uniformed U.S. Capitol Police Officers. The second line of barricades were constructed
of metal bike rack barriers, physically linked end to end, and reinforced with dark colored plastic
mesh safety fencing affixed behind the metal bike racks. The fence line was clearly marked with
                                                                                    . (see Figure 3
below).




      Figure 2. SAMSEL (boxed in red) Leading Crowd to Barricades Blocking Access to
                                 Pennsylvania Walkway.




                                             Figure 3

Upon approaching the barricade manned by U.S. Capitol Police Officers, SAMSEL immediately
became confrontational with a U.S. Capitol Police Officer with an aggressive posture (see Figure
4 below).
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                                                            Officer
                                    SAMSEL
                                                             O-1




               Figure 4. SAMSEL Confronting Uniformed U.S. Capitol Police Officers.

SAMSEL and others in the crowd pushed and pulled on the barricades. SAMSEL eventually
removed his light blue jacket, revealing a long sleeve white-hooded shirt under a black t-shirt and
turned his hat around backwards in a manner that appears as if SAMSEL was preparing for a
physical altercation. (See Figures 5-10 below).




Figure 5. SAMSEL Pushing & Pulling on Barricades      Figure 6. SAMSEL Removing Jacket




Figure 7               Figure 8. Turning Hat   Figure 9-10. Pushing & Pulling Barricades
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After removing his jacket, SAMSEL pushed and pulled the barricades until the crowd successfully
pushed the barricades down on top of the officers. In the process of pushing the barricades to the
ground, SAMSEL and others knocked over U.S. Capitol Police Officer (hereinafter Officer-         -
1                                                                Capitol, causing O-1
the stairs behind her, resulting in a loss of consciousness. SAMSEL picked O-1 up off the ground
and, according to O-1, said,                                                                   See
Figures 11 and 12 below. U.S. Capitol Police Officers immediately took a semi-conscious O-1
away from SAMSEL and told her to go toward the West Terrace of the U.S. Capitol Building to
regroup with additional Officers for her safety. Hours later while arresting a rioter, O-1 blacked
out and collapsed in the booking area and had to be transported to the Emergency Room at a local
hospital, where she was assessed to have suffered a concussion.




   Figure 11. Officer O-1 on Stairs after Being Knocked Down       Figure 12. SAMSEL
                                                                   and Officer O-1

After U.S. Capitol Police Officers were able to reform the police line after the initial surge by
SAMSEL and others that resulted in the barricades being breached and O-1 being injured, the
crowd again confronted U.S. Capitol Police Officers on the West Terrace of the U.S. Capitol
building. Moments later, SAMSEL can be seen advancing further into the U.S. Capitol Grounds,
which remained closed to the public. While among others in the crowd at the West Terrace,
SAMSEL attempted to pull a riot shield from a uniformed U.S. Capitol Police Officer (see Figures
13, 14, 15 below).




Figure 13. SAMSEL    Figure 14. SAMSEL Confronting Police          Figure 15. SAMSEL
   Advancing                                                       pulling on Riot Shield
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     After interviewing O-1 and obtaining videos and depictions of the individual identified above
as SAMSEL, the FBI ran several law enforcement database searches. These searches revealed a
possible match for the individual depicted in the videos and images as RYAN SAMSEL (DOB
      /1983). Your affiant ran a criminal history check of SAMSEL and discovered that he is on
parole in Pennsylvania and that he is currently wanted in Riverside, New Jersey on a non-
extraditable warrant from 2019 arising out of an alleged assault. Your aff
license photograph of SAMSEL and his appearance is consistent with the individual in the
screenshots above.

       On January 27, 2021, your Affiant spoke to a Parole Agent in the Intelligence Unit of the
Pennsylvania Parole Board/Department of Corrections. The Parole Agent indicated that SAMSEL
provided his number as            -2865 and that he had provided a residential address in Bristol,
PA, stating that he lived with his Aunt and Uncle. Your affiant conducted open source database
checks and found a female and male to be associated with the residence.

       On Tuesday, January 26, a Federal Magistrate judge in the District of Columbia issued a
search warrant for cellular phone data for the 2865 phone number identified above. The data
provided by the cellular telephone provider revealed that the user of the cellular phone had traveled
from Levittown, PA to the vicinity of the District of Columbia and then back to the Philadelphia,
PA area on January 6, 2021. The subscriber for the cellular phone was listed as an individual with
the same last name as persons associated with the residential address in Bristol, PA that SAMSEL
                                                                                                . The
account effective date was March 3, 2020, and the activation date was September 11, 2020.

       Based on the foregoing, your affiant submits that there is probable cause to believe that
SAMSEL violated 18 U.S.C. § 111, which makes it a crime to forcibly assault, resists, oppose,
impede, intimidate, or interfere with a federal agent while they are engaged in their official duties
and separately provides for enhanced penalties when bodily injury is inflicted.

        Your affiant submits there is also probable cause to believe that SAMSEL violated 18
U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.
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 Finally, your affiant submits there is probable cause to believe that SAMSEL violated 18 U.S.C.
§ 1512(c)(2), which makes it a crime to obstruct, influence, or impede any official proceeding, or
attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are official proceedings.


                                                    _________________________________
                                                    Stewart Curcio. Special Agent
                                                    Federal Bureau of Investigations

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 29th day of January 2021.

                                                    ___________________________________
